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United States District Court
District of Massachusetts

 

United States of America,

Criminal Action No.
19-10080-NMG

Vv.
Gamal Abdelaziz,

Defendant.

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MEMORANDUM & ORDER
GORTON, J.

Defendant Gamal Abdelaziz (“Abdelaziz” or “defendant”) has
moved for leave to file exhibits to his sentencing memorandum
partially under seal (Docket No. 2512). He asserts that the
exhibits, which are letters to the court written by family
members and friends, require redaction because they contain
“confidential personal contact information”. The government has
assented to the motion.

There is a presumptive right of public access to letters
submitted to the Court on the defendant’s behalf. United States
v. Kravetz, 706 F.3d 47, 57 (1st Cir. 2013). While the right
“is vibrant, it is not unfettered”, and it may be limited by
countervailing interests such as the privacy rights of third

parties. Id. at 59, 62.
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Here, the privacy interests of family members and friends
in their personal contact information override the presumption
in favor of public access. Contact information has “no direct
bearing upon the public’s assessment of the sentences imposed”
and, accordingly, redaction will not inhibit the interest of
public access to documents which the Court has considered in

imposing the sentence. Id. at 62, see United States v. Johnson,

 

No. 16-457-1, 2018 U.S. Dist. LEXIS 56853 at *5-6 (E.D.N.Y¥. Apr.
2, 2018).
ORDER
For the foregoing reasons, defendant’s motion to file
sentencing memorandum exhibits partially under seal (Docket No.
2512) is ALLOWED.

So ordered.

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Nathaniel M. Gorton
United States District Judge

Dated: February .§ , 2022
